Case: 4:08-cr-00094-JCH   Doc. #: 446 Filed: 03/12/10   Page: 1 of 7 PageID #:
                                    1418
Case: 4:08-cr-00094-JCH   Doc. #: 446 Filed: 03/12/10   Page: 2 of 7 PageID #:
                                    1419
Case: 4:08-cr-00094-JCH   Doc. #: 446 Filed: 03/12/10   Page: 3 of 7 PageID #:
                                    1420
Case: 4:08-cr-00094-JCH   Doc. #: 446 Filed: 03/12/10   Page: 4 of 7 PageID #:
                                    1421
Case: 4:08-cr-00094-JCH   Doc. #: 446 Filed: 03/12/10   Page: 5 of 7 PageID #:
                                    1422
Case: 4:08-cr-00094-JCH   Doc. #: 446 Filed: 03/12/10   Page: 6 of 7 PageID #:
                                    1423
Case: 4:08-cr-00094-JCH   Doc. #: 446 Filed: 03/12/10   Page: 7 of 7 PageID #:
                                    1424
